Case 3:16-md-02741-VC Document 653-14 Filed 10/28/17 Page 1 of 8




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                   JECH 3:16-md-02741-VC      Document
                        Online First, published on March653-14   Filed
                                                         3, 2016 as    10/28/17 Page 2 of 8
                                                                    10.1136/jech-2015-207005
                                                                                                                                         Commentary

Differences in the carcinogenic                                                                                 supports that substance’s potential to
                                                                                                                cause or not cause cancer in humans.
                                                                                                                   For Monograph 112,2 17 expert scien-
evaluation of glyphosate between the                                                                            tists evaluated the carcinogenic hazard for

International Agency for Research on                                                                            four insecticides and the herbicide glypho-
                                                                                                                sate.3 The WG concluded that the data

Cancer (IARC) and the European Food                                                                             for glyphosate meet the criteria for classi-
                                                                                                                ﬁcation as a probable human carcinogen.

Safety Authority (EFSA)                                                                                            The European Food Safety Authority
                                                                                                                (EFSA) is the primary agency of the
                                                                                                                European Union for risk assessments
Christopher J Portier,1 Bruce K Armstrong,2 Bruce C Baguley,3                                                   regarding food safety. In October 2015,
                                                                                                                EFSA reported4 on their evaluation of the
Xaver Baur,4 Igor Belyaev,5 Robert Bellé,6 Fiorella Belpoggi,7                                                  Renewal Assessment Report5 (RAR) for
Annibale Biggeri,8 Maarten C Bosland,9 Paolo Bruzzi,10                                                          glyphosate that was prepared by the
Lygia Therese Budnik,11 Merete D Bugge,12 Kathleen Burns,13                                                     Rapporteur Member State, the German
                                                                                                                Federal Institute for Risk Assessment
Gloria M Calaf,14 David O Carpenter,15 Hillary M Carpenter,16                                                   (BfR). EFSA concluded that ‘glyphosate is
Lizbeth López-Carrillo,17 Richard Clapp,18 Pierluigi Cocco,19                                                   unlikely to pose a carcinogenic hazard to
Dario Consonni,20 Pietro Comba,21 Elena Craft,22                                                                humans and the evidence does not
                                                                                                                support classiﬁcation with regard to its
Mohamed Aqiel Dalvie,23 Devra Davis,24 Paul A Demers,25                                                         carcinogenic potential’. Addendum 1 (the
Anneclaire J De Roos,26 Jamie DeWitt,27 Francesco Forastiere,28                                                 BfR Addendum) of the RAR5 discusses the
Jonathan H Freedman,29 Lin Fritschi,30 Caroline Gaus,31                                                         scientiﬁc rationale for differing from the
                                                                                                                IARC WG conclusion.
Julia M Gohlke,32 Marcel Goldberg,33 Eberhard Greiser,34                                                           Serious ﬂaws in the scientiﬁc evaluation
Johnni Hansen,35 Lennart Hardell,36 Michael Hauptmann,37                                                        in the RAR incorrectly characterise the
Wei Huang,38 James Huff,39 Margaret O James,40 C W Jameson,41                                                   potential for a carcinogenic hazard from
                                                                                                                exposure to glyphosate. Since the RAR is
Andreas Kortenkamp,42 Annette Kopp-Schneider,43 Hans Kromhout,44                                                the basis for the European Food Safety
Marcelo L Larramendy,45 Philip J Landrigan,46 Lawrence H Lash,47                                                Agency (EFSA) conclusion,4 it is critical
                                                                                                                that these shortcomings are corrected.
Dariusz Leszczynski,48 Charles F Lynch,49 Corrado Magnani,50
Daniele Mandrioli,51 Francis L Martin,52 Enzo Merler,53                                                         THE HUMAN EVIDENCE
Paola Michelozzi,54 Lucia Miligi,55 Anthony B Miller,56                                                         EFSA concluded ‘that there is very limited
                                                                                                                evidence for an association between
Dario Mirabelli,57 Franklin E Mirer,58 Saloshni Naidoo,59                                                       glyphosate-based      formulations     and
Melissa J Perry,60 Maria Grazia Petronio,61 Roberta Pirastu,62                                                  non-Hodgkin lymphoma (NHL), overall
Ralph J Portier,63 Kenneth S Ramos,64 Larry W Robertson,65                                                      inconclusive for a causal or clear associa-
                                                                                                                tive relationship between glyphosate and
Theresa Rodriguez,66 Martin Röösli,67 Matt K Ross,68 Deodutta Roy,69                                            cancer in human studies’. The BfR
Ivan Rusyn,70 Paulo Saldiva,71 Jennifer Sass,72 Kai Savolainen,73                                               Addendum ( p. ii) to the EFSA report
                                                                                                                explains that ‘no consistent positive asso-
Paul T J Scheepers,74 Consolato Sergi,75 Ellen K Silbergeld,76                                                  ciation was observed’ and ‘the most
Martyn T Smith,77 Bernard W Stewart,78 Patrice Sutton,79                                                        powerful study showed no effect’. The
Fabio Tateo,80 Benedetto Terracini,81 Heinz W Thielmann,82                                                      IARC WG concluded there is limited evi-
                                                                                                                dence of carcinogenicity in humans which
David B Thomas,83 Harri Vainio,84 John E Vena,85 Paolo Vineis,86                                                means “A positive association has been
Elisabete Weiderpass,87 Dennis D Weisenburger,88                                                                observed between exposure to the agent
Tracey J Woodruff,89 Takashi Yorifuji,90 Il Je Yu,91 Paola Zambon,92                                            and cancer for which a causal interpret-
                                                                                                                ation is considered by the Working Group
Hajo Zeeb,93 Shu-Feng Zhou94                                                                                    to be credible, but chance, bias or con-
                                                                                                                founding could not be ruled out with rea-
The International Agency for Research on               agents that cause cancer in humans and                   sonable conﬁdence.”1
Cancer (IARC) Monographs Programme                     has evaluated about 1000 agents since                       The ﬁnding of limited evidence by the
identiﬁes chemicals, drugs, mixtures,                  1971. Monographs are written by ad hoc                   IARC WG was for NHL, based on high-
occupational exposures, lifestyles and per-            Working Groups (WGs) of international                    quality case–control studies, which are
sonal habits, and physical and biological              scientiﬁc experts over a period of about                 particularly valuable for determining the
                                                       12 months ending in an eight-day                         carcinogenicity of an agent because their
                                                       meeting. The WG evaluates all of the                     design facilitates exposure assessment and
For numbered afﬁliations see end of article.           publicly available scientiﬁc information on              reduces the potential for certain biases.
Correspondence to Dr Christopher J Portier,
                                                       each substance and, through a transparent                The Agricultural Health Study6 (AHS)
Environmental Health Consultant, Thun, CH-3600,        and rigorous process,1 decides on the                    was the only cohort study available pro-
Switzerland; cportier@me.com                           degree to which the scientiﬁc evidence                   viding information on the carcinogenicity
                                                  Portier CJ, et al. J Epidemiol Community Health Month 2016 Vol 0 No 0                                   1
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                Case 3:16-md-02741-VC Document 653-14 Filed 10/28/17 Page 3 of 8
    Commentary

of glyphosate. The study had a null              or above the limit dose/maximum toler-          EC regulations cited in the RAR18 (see
ﬁnding for NHL (RR 1.1, 0.7–1.9) with            ated dose (MTD), lack of preneoplastic          p.375). Trend tests are more powerful
no apparent exposure–response relation-          lesions and/or being within historical          than pairwise comparisons, particularly
ship in the results. Despite potential           control range’. The IARC WG review              for rare tumours where data are sparse.
advantages of cohort versus case–control         found a signiﬁcant positive trend for renal     Historical control data should be from
studies, the AHS had only 92 NHL cases           tumours in male CD-1 mice,12 a rare             studies in the same time frame, for the
in the unadjusted analysis as compared to        tumour, although no comparisons of any          same animal strain, preferably from the
650 cases in a pooled case–control ana-          individual exposure group to the control        same laboratory or the same supplier and
lysis from the USA.7 In addition, the            group were statistically signiﬁcant. The        preferably reviewed by the same patholo-
median follow-up time in the AHS was             WG also identiﬁed a signiﬁcant positive         gist.17 18 While the EFSA ﬁnal peer
6.7 years, which is unlikely to be long          trend for hemangiosarcoma in male CD-1          review4 mentions the use of historical
enough to account for cancer latency.8           mice,13 again with no individual exposure       control data from the original laboratory,
   The RAR classiﬁed all of the case–            group signiﬁcantly different from con-          no speciﬁcs are provided and the only
control studies as ‘not reliable,’ because,      trols. Finally, the WG also saw a signiﬁ-       referenced historical control data24 are in
for example, information on glyphosate           cant increase in the incidence of               the BfR addendum.5 One of the mouse
exposure, smoking status and/or previous         pancreatic islet cell adenomas in two           studies12 was clearly done before this his-
diseases had not been assessed. In most          studies in male Sprague-Dawley rats.14–16       torical control database was developed,
cases, this is contrary to what is actually      In one of these rat studies, thyroid gland      one study (Sugimoto. Unpublished, 1997)
described       in     the      publications.    adenomas in females and liver adenomas          used Crj:CD-1 mice rather than Crl:CD-1
Well-designed case–control studies are           in males were also increased. By the IARC       mice, and one study13 did not specify the
recognised as strong evidence and rou-           review criteria,1 this constitutes sufﬁcient    substrain and was reported in 1993 (prob-
tinely relied on for hazard evaluations.9 10     evidence in animals.                            ably started prior to 1988). Hence, only a
The IARC WG carefully and thoroughly                The IARC WG reached this conclusion          single study (Unknown. Unpublished,
evaluated all available epidemiology data,       using data that were publicly available in      2009) used the same mouse strain as the
considering the strengths and weaknesses         sufﬁcient detail for independent scientiﬁc      cited historical controls, but was reported
of each study. This is key to determining        evaluation (a requirement of the IARC           more than 10 years after the historical
that the positive associations seen in the       Preamble1). On the basis of the BfR             control data set was developed.
case–control studies are a reliable indica-      Addendum, it seems there were three add-           The RAR dismissed the slightly
tion of an association and not simply due        itional mouse studies and two additional        increased tumour incidences in the studies
to chance or methodological ﬂaws. To             rat studies that were unpublished and           considered because they occurred “only at
provide a reasonable interpretation of the       available to EFSA. Two of the additional        dose levels at or above the limit dose/
ﬁndings, an evaluation needs to properly         studies were reported to have a signiﬁcant      maximum tolerated dose (MTD)”, and
weight studies according to quality rather       trend for renal tumours, one in CD-1 mice       because there was a lack of preneoplastic
than simply count the number of positives        (Sugimoto. 18-Month Oral Oncogenicity           lesions. Exceeding the MTD is demon-
and negatives. The two meta-analyses             Study in Mice. Unpublished, designated          strated by an increase in mortality or
cited in the IARC Monograph11 are excel-         ASB2012–11493 in RAR. 1997), and one            other serious toxicological ﬁndings at the
lent examples of objective evaluations and       in Swiss-Webster mice (Unknown. A               highest dose, not by a slight reduction in
show a consistent positive association           chronic feeding study of glyphosate             body weight. No serious toxicological
between glyphosate and NHL.                      (roundup technical) in mice. Unpublished,       ﬁndings were reported at the highest
   The ﬁnal conclusion5 (Addendum 1,             designated ABS2012–11491 in RAR.                doses for the mouse studies in the RAR.
p.21) that “there was no unequivocal evi-        2001). One of these studies (Sugimoto.          While some would argue that these high
dence for a clear and strong association of      Unpublished, 1997) also reported a signiﬁ-      doses could cause cellular disruption (eg,
NHL with glyphosate” is misleading.              cant trend for hemangiosarcoma. The             regenerative hyperplasia) leading to
IARC, like many other groups, uses three         RAR also reported two studies in CD-1           cancer, no evidence of this was reported
levels of evidence for human cancer data.1       mice showing signiﬁcant trends for malig-       in any study. Finally, a lack of preneoplas-
Sufﬁcient evidence means ‘that a causal          nant lymphoma (Sugimoto. Unpublished,           tic lesions for a signiﬁcant neoplastic
relationship has been established’ between       1997; Unknown. Glyphosate Technical:            ﬁnding is insufﬁcient reason to discard the
glyphosate and NHL. BfR’s conclusion is          Dietary      Carcinogencity     Study     in    ﬁnding.
equivalent to deciding that there is not         the Mouse. Unpublished, designated
sufﬁcient evidence. Legitimate public            ABS2012–11492 in RAR. 2009).                    MECHANISTIC INFORMATION
health concerns arise when ‘causality is            The RAR dismissed the observed trends        The BfR Addendum dismisses the IARC
credible’, that is, when there is limited evi-   in tumour incidence because there are no        WG ﬁnding that ‘there is strong evidence
dence of carcinogenicity.                        individual treatment groups that are sig-       that glyphosate causes genotoxicity’ by
                                                 niﬁcantly different from controls and           suggesting that unpublished evidence not
EVIDENCE FROM ANIMAL                             because the maximum observed response           seen by the IARC WG was overwhelm-
CARCINOGENICITY STUDIES                          is reportedly within the range of the his-      ingly negative and that, since the reviewed
EFSA concluded ‘No evidence of carcino-          torical control data (Table 5.3–1, p.90).       studies were not done under guideline
genicity was conﬁrmed by the majority of         Care must be taken in using historical          principles, they should get less weight. To
the experts (with the exception of one           control data to evaluate animal carcino-        maintain transparency, IARC reviews only
minority view) in either rats or mice due        genicity data. In virtually all guide-          publicly available data. The use of conﬁ-
to a lack of statistical signiﬁcance in pair-    lines,1 17 18 scientiﬁc reports19 and           dential data submitted to the BfR makes it
wise comparison tests, lack of consistency       publications20–23 on this issue, the recom-     impossible for any scientist not associated
in multiple animal studies and slightly          mended ﬁrst choice is the use of concur-        with BfR to review this conclusion.
increased incidences only at dose levels at      rent controls and trend tests, even in the      Further weakening their interpretation,
2                                                                                 Portier CJ, et al. J Epidemiol Community Health Month 2016 Vol 0 No 0
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                  Case 3:16-md-02741-VC Document 653-14 Filed 10/28/17 Page 4 of 8
                                                                                                                                           Commentary

the BfR did not include evidence of                     where ﬁnancial support, conﬂicts of inter-            studies, hemangiosarcoma in two
chromosomal damage from exposed                         est and afﬁliations of authors are fully dis-         mouse studies and malignant lymph-
humans or human cells that were high-                   closed. This is in direct contrast to the             oma in two mouse studies. Thus, EFSA
lighted in Tables 4.1 and 4.2 of the IARC               IARC WG evaluation listing all authors,               incorrectly discarded all ﬁndings of
Monograph 3                                             all publications and public disclosure of             glyphosate-induced cancer in animals
   The BfR conﬁrms ( p.79) that the                     pertinent conﬂicts of interest prior to the           as chance occurrences.
studies evaluated by the IARC WG on                     WG meeting.27                                     ▸ EFSA ignored important laboratory
oxidative stress were predominantly posi-                  Several guidelines have been devised for           and human mechanistic evidence of
tive but does not agree that this is strong             conducting careful evaluation and analysis            genotoxicity.
support for an oxidative stress mechan-                 of carcinogenicity data, most after con-          ▸ EFSA conﬁrmed that glyphosate
ism. They minimise the signiﬁcance of                   sultation with scientists from around the             induces oxidative stress but then,
these ﬁndings predominantly because of a                world. Two of the most widely used                    having dismissed all other ﬁndings of
lack of positive controls in some studies               guidelines in Europe are the OECD guid-               possible carcinogenicity, dismissed this
and because many of the studies used gly-               ance on the conduct and design of                     ﬁnding on the grounds that oxidative
phosate formulations and not pure gly-                  chronic toxicity and carcinogenicity                  stress alone is not sufﬁcient for car-
phosate. In contrast, the WG concluded                  studies17 and the European Chemicals                  cinogen labelling.
that ( p.77) ‘Strong evidence exists that               Agency      Guidance      on     Commission          The most appropriate and scientiﬁcally
glyphosate, AMPA and glyphosate-based                   Regulation (EU) No 286/2011;18 both are           based evaluation of the cancers reported
formulations can induce oxidative stress’.              cited in the RAR. The methods used for            in humans and laboratory animals as well
From a scientiﬁc perspective, these types               historical controls and trend analysis are        as supportive mechanistic data is that gly-
of mechanistic studies play a key role in               inconsistent with these guidelines.               phosate is a probable human carcinogen.
distinguishing between the effects of mix-                 Owing to the potential public health           On the basis of this conclusion and in the
tures, pure substances and metabolites.                 impact of glyphosate, which is an exten-          absence of evidence to the contrary, it is
   Finally, we strongly disagree that data              sively used pesticide, it is essential that all   reasonable to conclude that glyphosate
from studies published in the peer-                     scientiﬁc evidence relating to its possible       formulations should also be considered
reviewed literature should automatically                carcinogenicity is publicly accessible and        likely human carcinogens. The CLP
receive less weight than guideline studies.             reviewed transparently in accordance with         Criteria18 (Table 3.6.1, p.371) allow for a
Compliance with guidelines and Good                     established scientiﬁc criteria.                   similar classiﬁcation of Category 1B when
Laboratory Practice does not guarantee                                                                    there are ‘studies showing limited evi-
validity and relevance of the study design,             SUMMARY                                           dence of carcinogenicity in humans
statistical rigour and attention to sources             The IARC WG concluded that glyphosate             together with limited evidence of carcino-
of bias.25 26 The majority of research after            is a ‘probable human carcinogen’, putting         genicity in experimental animals’.
the initial marketing approval, including               it into IARC category 2A due to sufﬁcient            In the RAR, almost no weight is given
epidemiology studies, will be conducted                 evidence of carcinogenicity in animals,           to studies from the published literature
in research laboratories using various                  limited evidence of carcinogenicity in            and there is an over-reliance on non-
models to address speciﬁc issues related to             humans and strong evidence for two car-           publicly     available    industry-provided
toxicity, often with no testing guidelines              cinogenic mechanisms.                             studies using a limited set of assays that
available. Peer-reviewed and published                  ▸ The IARC WG found an association                deﬁne the minimum data necessary for
ﬁndings have great value in understanding                   between NHL and glyphosate based              the marketing of a pesticide. The IARC
mechanisms of carcinogenicity and should                    on the available human evidence.              WG evaluation of probably carcinogenic
be given appropriate weight in an evalu-                ▸ The IARC WG found signiﬁcant car-               to humans accurately reﬂects the results of
ation based on study quality, not just on                   cinogenic effects in laboratory animals       published scientiﬁc literature on glypho-
compliance with guideline rules.                            for rare kidney tumours and heman-            sate and, on the face of it, unpublished
                                                            giosarcoma in two mouse studies and           studies to which EFSA refers.
GENERAL COMMENTS                                            benign tumours in two rat studies.               Most of the authors of this commentary
Science moves forward on careful evalua-                ▸ The IARC WG concluded that there                previously expressed their concerns to
tions of data and a rigorous review of                      was strong evidence of genotoxicity           EFSA and others regarding their review of
ﬁndings, interpretations and conclusions.                   and oxidative stress for glyphosate,          glyphosate28 to which EFSA has published
An important aspect of this process is                      entirely from       publicly available        a reply.29 This commentary responds to
transparency and the ability to question or                 research, including ﬁndings of DNA            the EFSA reply.
debate the ﬁndings of others. This ensures                  damage in the peripheral blood of                The views expressed in this editorial are
the validity of the results and provides a                  exposed humans.                               the opinion of the authors and do not
strong basis for decisions. Many of the                    The RAR concluded5 (Vol. 1, p.160)             imply an endorsement or support for
elements of transparency do not exist for               that ‘classiﬁcation and labelling for car-        these opinions by any organisations to
the RAR.5 For example, citations for                    cinogenesis is not warranted’ and ‘glypho-        which they are afﬁliated.
almost all references, even those from the              sate is devoid of genotoxic potential’.
open scientiﬁc literature, have been                    ▸ EFSA4 classiﬁed the human evidence
                                                                                                          Author afﬁliations
redacted. The ability to objectively evalu-                 as ‘very limited’ and then dismissed          1
                                                                                                            Environmental Health Consultant, Thun, Switzerland
ate the ﬁndings of a scientiﬁc report                       any association of glyphosate with            2
                                                                                                            The University of Sydney, Sydney, New South Wales,
requires a complete list of cited support-                  cancer without clear explanation or           Australia
                                                                                                          3
ing evidence. As another example, there                     justiﬁcation.                                   The University of Auckland, Auckland, New Zealand
                                                                                                          4
                                                                                                            Charité University Medicine Berlin, Berlin, Germany
are no authors or contributors listed for               ▸ Ignoring established guidelines cited in        5
                                                                                                            Cancer Research Institute, Bratislava, Slovak Republic
either document, a requirement for publi-                   their report, EFSA dismissed evidence         6
                                                                                                            Sorbonne Universités, UPMC Univ Paris 06,
cation in virtually all scientiﬁc journals                  of renal tumours in three mouse               UMR8227, Roscoff, France

Portier CJ, et al. J Epidemiol Community Health Month 2016 Vol 0 No 0                                                                                                3
                                  Downloaded from http://jech.bmj.com/ on September 6, 2017 - Published by group.bmj.com
                    Case 3:16-md-02741-VC Document 653-14 Filed 10/28/17 Page 5 of 8
    Commentary
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                                                              64
Health, Drexel University, Philadelphia, Pennsylvania,           Center for Applied Genetics and Genomic Medicine,        participated in its development and approve the
USA                                                           University of Arizona Health Sciences, Tucson, Arizona,     content. MCB, FF, LF, CWJ, HK, TR, MKR, IR and CS
27
   Brody School of Medicine, East Carolina University,        USA                                                         were all participants in the IARC WG. CJP was an
                                                              65
Greenville, North Carolina, USA                                  Iowa Superfund Research Program and the                  Invited Specialist in the IARC WG. Many of the
28
   Department of Epidemiology, Lazio Regional Health          Interdisciplinary Graduate Program in Human                 remaining authors have also served on IARC Working
Service, Rome, Italy                                          Toxicology, University of Iowa, Iowa City, Iowa, USA        Groups that did not pertain to glyphosate.
29                                                            66
   University of Louisville School of Medicine, Louisville,      Center for Research in Health, Work and Environment      Competing interests CJP, MTS and DDW are
Kentucky, USA                                                 (CISTA), National Autonomous University of Nicaragua
30                                                                                                                        providing advice to a US law ﬁrm involved in
   School of Public Health, Curtin University, Perth,         (UNAN-León), León, Nicaragua
                                                              67                                                          glyphosate litigation. CJP also works part-time for the
Western Australia, Australia                                     Swiss Tropical and Public Health Institute, Associated   Environmental Defense Fund on issues not related to
31
   Department of Environmental Toxicology, The                Institute of the University of Basel, Basel, Switzerland    pesticides.
                                                              68
University of Queensland, Brisbane, Australia                    College of Veterinary Medicine, Mississippi State
32                                                                                                                        Provenance and peer review Commissioned;
   Department of Population Health Sciences, Virginia         University, Mississippi State, USA
                                                              69                                                          externally peer reviewed.
Tech, Blacksburg, Virginia, USA                                  Department of Environmental and Occupational
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   Epi.Consult GmbH, Musweiler, Germany                       USA
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                                                              72
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   Case 3:16-md-02741-VC Document 653-14 Filed 10/28/17 Page 7 of 8

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